           Case 2:09-cr-00206-GEB Document 21 Filed 10/14/09 Page 1 of 3


1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700

5    Attorney for Defendant
     DELMAR LAGRIMAS
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,   )
12                               )       Cr.S. 09-206-GEB
                  Plaintiff,     )
13                               )       STIPULATION AND ORDER
             v.                  )
14                               )       DATE: November 6 2009
     DELMAR LAGRIMAS,            )       TIME: 9:00 a.m.
15   LEOBARDO OLAZABAL CARRANZA, )       JUDGE: Hon. Garland E. Burrell Jr.
                                 )
16                Defendants.    )
                                 )
17   __________________________ )
                                 )
18
19      It is hereby stipulated and agreed to between the United States of

20   America through DANIEL MCCONKIE, Assistant U.S. Attorney, and

21   defendants, DELMAR LAGRIMAS by and through his counsel, BENJAMIN

22   GALLOWAY, Assistant Federal Defender, and LEOBARDO OLAZABAL CARRANZA by

23   and through his counsel, GILBERT A. ROQUE, that the status conference

24   set for Friday, October 9, 2009, be continued to Friday, November 6,

25   2009, at 9:00 a.m..

26      The reason for this continuance is to allow defense counsel

27   additional time to review discovery with the defendants, to examine

28   possible defenses and to continue investigating the facts of the case.
           Case 2:09-cr-00206-GEB Document 21 Filed 10/14/09 Page 2 of 3


1       It is further stipulated that the time period from the date of this
2    stipulation and order, through and including the date of the new status
3    conference hearing, November 6 2009, shall be excluded from computation
4    of time within which the trial of this matter must be commenced under
5    the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(A)(B)(iv)and
6    Local Code T4 [reasonable time for defense counsel to prepare].
7
8    DATED: October 6, 2009         Respectfully submitted,
9                                   DANIEL J. BRODERICK
                                    Federal Defender
10
                                    /s/ Benjamin Galloway
11                                  BENJAMIN GALLOWAY
                                    Assistant Federal Defender
12                                  Attorney for Defendant
                                    DELMAR LAGRIMAS
13
                                    /s/ Benjamin Galloway for
14                                  GILBERT A. ROQUE
                                    Attorney for Defendant
15                                  LEOBARDO OLAZABAL CARRANZA
16
17
     DATED: October 6, 2009         LAWRENCE G. BROWN
18                                  United States Attorney
19                                  /s/ Benjamin Galloway for
                                    DANIEL MCCONKIE
20                                  Assistant U.S. Attorney
                                    Attorney for Plaintiff
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              Case 2:09-cr-00206-GEB Document 21 Filed 10/14/09 Page 3 of 3


1                                      O R D E R
2       IT IS SO ORDERED.       Time is excluded from today’s date through and
3    including November 6, 2009 in the interests of justice pursuant to 18
4    U.S.C. §3161(h)(7)(A)(B)(iv) [reasonable time to prepare] and Local
5    Code T4.
6    Dated:    October 13, 2009
7
8                                        GARLAND E. BURRELL, JR.
9                                        United States District Judge

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